         Case 8-18-72034-las              Doc 14        Filed 04/20/18    Entered 04/20/18 12:25:03




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                                   Chapter 13

Robert M. George,                                                        Case No. 8-18-72034-las

                             Debtor.
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                                         LOSS-MITIGATION ORDER

          A Loss Mitigation Request 1 was filed by the Debtor on April 3, 2018.

          Upon the foregoing, it is hereby

       ORDERED, that the following parties (the “Loss Mitigation Parties”) are directed to
participate in the Loss Mitigation Program:

          1.       The Debtor; and

          2.       Caliber Home Loans with respect to Loan number ending in 3943 with
                   respect to real property located at 574 Smithtown Avenue, Bohemia, NY
                   11716 (the “Creditor”).

      It is further ORDERED, that the Loss Mitigation Parties shall comply with the
Loss Mitigation Procedures annexed to this Order; and it is further

          ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

          1.       Each Loss Mitigation Party shall designate contact persons and disclose
                   contact information by within 7 days of entry of this order, unless this
                   information has been previously provided. As part of this obligation, a
                   Creditor shall furnish each Loss Mitigation Party with written
                   notice of the name, address and direct telephone number of the
                   person who has full settlement authority.

          2.       Each Creditor that is a Loss Mitigation Party shall contact the Debtor within
                   14 days of the date of this Order.

          3.       Each Loss Mitigation Party shall make its request for information and
                   documents, if any, within 14 days of the date of this Order.

          4.       Each Loss Mitigation Party shall respond to a request for information and
                   documents within 14 days after a request is made, or 7 days prior to
                   the Loss Mitigation Session, whichever is earlier.

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    All capitalized terms have the meanings defined in the Loss Mitigation Procedures.
      Case 8-18-72034-las       Doc 14     Filed 04/20/18     Entered 04/20/18 12:25:03




       5.      The Loss Mitigation Session shall be scheduled to occur no later than May
               25, 2018.

       6.      The Loss Mitigation Period shall terminate on June 1, 2018, unless extended
               as provided in the Loss Mitigation Procedures.

       It is further ORDERED, that a status conference will be held in this case on June
6, 2018 at 10:30 a.m. (the “Status Conference”) in Courtroom 970 at the United States
Bankruptcy Court, Eastern District of New York, 290 Federal Plaza, Central Islip, New
York 11722. The Loss Mitigation Parties shall appear at the Status Conference and provide
the Court with an oral Status Report unless a written Status Report that is satisfactory to
the Court has been filed not later than 7 days prior to the date of the Status Conference and
requests that the Status Conference be adjourned or cancelled; and it is further

        ORDERED, that at the Status Conference, the Court may consider a Settlement
reached by the Loss Mitigation Parties, or may adjourn the Status Conference if necessary
to allow for adequate notice of a request for approval of a Settlement; and it is further

       ORDERED, that any matters that are currently pending between the Loss
Mitigation Parties (such as motions or applications, and any objection, opposition or
response thereto) are hereby adjourned to the date of the Status Conference to the extent
those matters concern (1) relief from the automatic stay, (2) objection to the allowance of a
proof of claim, (3) reduction, reclassification or avoidance of a lien, (4) valuation of a Loan or
Property, or (5) objection to confirmation of a plan of reorganization; and it is further

       ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this
case to file an objection to a plan of reorganization in this case shall be extended until 14
days after the termination of the Loss Mitigation Period, including any extension of the
Loss Mitigation Period.




                                                              ____________________________
 Dated: April 20, 2018                                               Louis A. Scarcella
        Central Islip, New York                               United States Bankruptcy Judge
      Case 8-18-72034-las      Doc 14     Filed 04/20/18   Entered 04/20/18 12:25:03




                   LOSS MITIGATION PROGRAM PROCEDURES

                                     I.      PURPOSE

        The Loss Mitigation Program is designed to function as a forum in individual
bankruptcy cases for debtors and lenders to reach consensual resolution whenever a
debtor’s residential property is at risk of foreclosure. The Loss Mitigation Program aims to
facilitate resolution by opening the lines of communication between the debtors’ and
lenders’ decision-makers. While the Loss Mitigation Program stays certain bankruptcy
deadlines that might interfere with the negotiations or increase costs to the loss mitigation
parties, the Loss Mitigation Program also encourages the parties to finalize any Settlement
(as defined below) under bankruptcy court protection, instead of seeking dismissal of the
bankruptcy case.
                         II.     LOSS MITIGATION DEFINED

       The term “loss mitigation” is intended to describe the full range of solutions that
may avert the loss of a debtor’s property to foreclosure, increased costs to the lender, or
both. Loss mitigation commonly consists of the following general types of agreements, or a
combination of them: loan modification, loan refinance, forbearance, short sale, or
surrender of the property in full satisfaction. The terms of a loss mitigation solution will
vary in each case according to the particular needs, interests, and goals of the parties.
                                  III.     ELIGIBILITY

       The following definitions are used to describe the types of parties, properties, and
loans that are eligible for participation in the Loss Mitigation Program:

A.      DEBTOR

  The term “Debtor” means any individual debtor in a case filed under Chapter 7, 11, 12, or
13 of the Bankruptcy Code, including joint debtors, whose case is assigned to Chief Judge
Carla E. Craig, Judge Nancy Hershey Lord, Judge Elizabeth S. Stong, Judge Louis A.
Scarcella, or Judge Robert E. Grossman, or any other judge who elects to participate in the
Loss Mitigation Program.

B.      PROPERTY

       The term “Property” means any real property, including condominiums or
cooperative apartments, used as the Debtor’s principal residence, in which the Debtor
holds an interest.
C.      LOAN

        The term “Loan” means any mortgage, lien, or extension of money or credit secured
by eligible Property or stock shares in a residential cooperative, regardless of whether the
Loan (1) is considered to be “subprime” or “non-traditional;” (2) was in foreclosure prior to
      Case 8-18-72034-las       Doc 14    Filed 04/20/18     Entered 04/20/18 12:25:03




the bankruptcy filing; (3) is the first or junior mortgage or lien on the Property; or (4) has
been “pooled,” “securitized,” or assigned to a servicer or to a trustee.

D.     CREDITOR

  The term “Creditor” means any holder, mortgage servicer, or trustee of an eligible Loan.

                             IV.     ADDITIONAL PARTIES

A.      OTHER CREDITORS

       Any party may request, or the bankruptcy court may direct, more than one
Creditor to participate in the Loss Mitigation Program, where it may be of assistance to
obtain a global resolution.

B.     CO-DEBTORS AND THIRD PARTIES

       Any party may request, or the bankruptcy court may direct, a co-debtor or other
third party to participate in the Loss Mitigation Program, where the participation of such
party may be of assistance, to the extent that the bankruptcy court has jurisdiction over
the party or the party consents.

C.     CHAPTER 13 TRUSTEE

       Any party may request, or the bankruptcy court may direct, the Chapter 13 Trustee
to participate in the Loss Mitigation Program to the extent that such participation is
consistent with the Chapter 13 Trustee’s duty under Bankruptcy Code Section 1302(b)(4) to
“advise, other than on legal matters, and assist the debtor in performance under the
Chapter 13 plan.”

D.      MEDIATOR

       Any party may request, or the bankruptcy court may direct, a mediator from the
Mediation Register maintained by the United States Bankruptcy Court for the Eastern
District of New York to participate in the Loss Mitigation Program.

                 V.        COMMENCEMENT OF LOSS MITIGATION

        Parties are encouraged to request to enter into the Loss Mitigation Program as
early in the case as possible, but a request may be made at any time as follows.

         A.   BY THE DEBTOR

        1.    In a case under Chapter 13, the Debtor may request to enter into the Loss
        Mitigation Program with a particular Creditor in the Chapter 13 plan, and shall
        note the making of the request in the docket entry for the plan. The Creditor shall
        have 21 days to object. If no objection is filed, the bankruptcy court may enter an
        order referring the parties to the Loss Mitigation Program (a “Loss Mitigation
        Order”).
      Case 8-18-72034-las      Doc 14     Filed 04/20/18    Entered 04/20/18 12:25:03




        2.     A Debtor may serve and file a request to enter into the Loss Mitigation
        Program with a particular Creditor. The Creditor shall have 14 days to object. If no
        objection is filed, the bankruptcy court may enter a Loss Mitigation Order.
        3.     If a Creditor has filed a motion for relief from the automatic stay pursuant to
        Bankruptcy Code Section 362 (a “Lift-Stay Motion”), the Debtor may serve and file
        a request to enter into the Loss Mitigation Program at any time before the
        conclusion of the hearing on the Lift-Stay Motion. The bankruptcy court will
        consider the Debtor’s request and any opposition by the Creditor at the hearing on
        the Lift-Stay Motion.

        B.    BY A CREDITOR

       A Creditor may serve and file a request to enter into the Loss Mitigation Program.
The Debtor shall have 14 days to object. If no objection is filed, the bankruptcy court may
enter a Loss Mitigation Order.

C.     BY THE BANKRUPTCY COURT

       The bankruptcy court may enter a Loss Mitigation Order at any time after notice to
the parties to be bound (the “Loss Mitigation Parties”) and an opportunity to object.

D.     HEARING ON OBJECTION

       If any party files an objection, the bankruptcy court shall hold a hearing on the
request to enter the Loss Mitigation Program and the objection, and shall not enter a Loss
Mitigation Order until the objection has been heard.

                VI.   LOSS MITIGATION ORDER


A.     DEADLINES

       A Loss Mitigation Order shall contain:

1.     The date by which contact persons and telephone contact information shall be
provided by the Loss Mitigation Parties.

2.     The date by which each Creditor shall initially contact the Debtor.

3.   The date by which each Creditor shall transmit any request for information or
documents to the Debtor.

4.   The date by which the Debtor shall transmit any request for information or
documents to each Creditor.

5.     The date by which a written status report shall be filed, or the date and time for
a status conference and oral status report (whether written or oral, a “Status Report”).
In a Chapter 13 case, the status conference shall coincide, if possible, with a hearing on
confirmation of the Chapter 13 plan. A date to file a written report shall be, if possible,
not later than 7 days after the initial loss mitigation session.
     Case 8-18-72034-las       Doc 14    Filed 04/20/18    Entered 04/20/18 12:25:03




6.    The date when the loss mitigation process (the “Loss Mitigation Period”) shall
terminate, unless extended.

B.     EFFECT

       During the Loss Mitigation Period:

1.     A Creditor may contact the Debtor directly, and it shall be presumed that such
contact does not violate the automatic stay.

2.     A Creditor may not file a Lift-Stay Motion, except where necessary to prevent
irreparable injury. A Lift-Stay Motion filed by the Creditor before the entry of the Loss
Mitigation Order shall be adjourned to a date following the Loss Mitigation Period, and
the stay shall be extended pursuant to Bankruptcy Code Section 362(e).

3.    In a Chapter 13 case, the date by which a Creditor must object to confirmation of
the Chapter 13 plan shall be extended to a date that is at least 14 days following the
Loss Mitigation Period.

4.     Federal Rule of Evidence 408 shall apply to communications, information and
documents exchanged by the Loss Mitigation Parties in connection with the Loss
Mitigation Program.

       VII.   DUTIES UPON COMMENCEMENT OF LOSS MITIGATION

A.     GOOD FAITH

       The Loss Mitigation Parties shall negotiate in good faith. A party that does not
participate in the Loss Mitigation Program in good faith may be subject to sanctions.

B.     CONTACT INFORMATION

1.     The Debtor: The Debtor shall provide written notice to each Loss Mitigation
Party of the manner in which the Creditor shall contact the Debtor or the Debtor’s
attorney. This may be done in the request to enter the Loss Mitigation Program.

2.     The Creditor: Each Creditor shall provide written notice to the Debtor of the
name, address and direct telephone number of the contact person with authority to act
on the Creditor’s behalf. This may be done in the request to enter the Loss Mitigation
Program.

C.    STATUS REPORT

        The Loss Mitigation Parties shall provide a written or oral Status Report to the
bankruptcy court within the period set in the Loss Mitigation Order. The Status Report
shall indicate how many loss mitigation sessions have occurred, whether a resolution has
been reached, and whether a Loss Mitigation Party believes that additional sessions may
result in partial or complete resolution. A Status Report may include a request for an
extension of the Loss Mitigation Period.
      Case 8-18-72034-las          Doc 14    Filed 04/20/18    Entered 04/20/18 12:25:03




D.    BANKRUPTCY COURT APPROVAL

      The Loss Mitigation Parties shall seek bankruptcy court approval of any Settlement
reached during loss mitigation.

                            VIII. LOSS MITIGATION PROCESS

A.     INITIAL CONTACT

       Following entry of a Loss Mitigation Order, the contact person designated by each
Creditor shall contact the Debtor and any other Loss Mitigation Party within the time set
by the bankruptcy court. The Debtor may contact any Loss Mitigation Party at any time.
The purpose of the initial contact is to create a framework for the loss mitigation session
and to ensure that the Loss Mitigation Parties are prepared. The initial contact is not
intended to limit the issues or proposals that may arise during the loss mitigation session.

       During the initial contact, the Loss Mitigation Parties shall discuss:

        1.         The time and method for conducting the loss mitigation sessions.

        2.         The loss mitigation alternatives that each party is considering.

        3.    The exchange of information and documents before the loss mitigation
        session, including the date by when the Creditor shall request information and
        documents from the Debtor and the date by when the Debtor shall respond. All
        information and documents shall be provided at least seven days before the first
        loss mitigation session.

B.    LOSS MITIGATION SESSIONS

       Loss mitigation sessions may be conducted in person, by telephone, or by video
conference. At the conclusion of each loss mitigation session, the Loss Mitigation Parties
shall discuss whether and when to hold a further session, and whether any additional
information or documents should be exchanged.

C.    BANKRUPTCY COURT ASSISTANCE

       At any time during the Loss Mitigation Period, a Loss Mitigation Party may
request a settlement conference or status conference with the bankruptcy judge.

D.     SETTLEMENT AUTHORITY

        At a loss mitigation session, each Loss Mitigation Party shall have a person with
full settlement authority present. At a status conference or settlement conference with the
bankruptcy court, each Loss Mitigation Party shall have a person with full settlement
authority present. If a Loss Mitigation Party is appearing by telephone or video
conference, that party shall be available beginning thirty minutes before the conference.

             IX.      DURATION, EXTENSION AND EARLY TERMINATION
     Case 8-18-72034-las      Doc 14     Filed 04/20/18   Entered 04/20/18 12:25:03




A.    INITIAL PERIOD

       The initial Loss Mitigation Period shall be set by the bankruptcy court in
the Loss Mitigation Order.

B.     EXTENSION

1.     By Agreement: The Loss Mitigation Parties may agree to extend the Loss Mitigation
Period by stipulation to be filed not less than one business day before the Loss Mitigation
Period ends.

2.    In the Absence of Agreement: A Loss Mitigation Party may request to extend the
Loss Mitigation Period in the absence of agreement by filing and serving a request to
extend the

Loss Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to
object. If the request to extend the Loss Mitigation Period is opposed, then the bankruptcy
court shall schedule a hearing on the request. The bankruptcy court may consider whether
(1) an extension of the Loss Mitigation Period may result in a complete or partial resolution
that provides a substantial benefit to a Loss Mitigation Party; (2) the party opposing the
extension has participated in good faith and complied with these Loss Mitigation
Procedures; and (3) the party opposing the extension will be prejudiced.

C.     EARLY TERMINATION

1.      Upon Request of a Loss Mitigation Party: A Loss Mitigation Party may request to
terminate the Loss Mitigation Period by filing and serving a request to terminate the Loss
Mitigation Period on the other Loss Mitigation Parties, who shall have seven days to object.
If the request to terminate the Loss Mitigation Period is opposed, then the bankruptcy
court shall schedule a hearing on the request. Notice may be modified for cause if necessary
to prevent irreparable injury.

2.     Dismissal of the Bankruptcy Case: A Chapter 13 bankruptcy case shall not be
dismissed during the pendency of a Loss Mitigation Period, except (1) upon motion of the
Chapter 13 Trustee or the United States Trustee for failure to comply with the
requirements of the Bankruptcy Code; or (2) upon the voluntary request of the Chapter 13
Debtor. A Chapter 13 Debtor may not be required to request dismissal of the
bankruptcy case as part of a Settlement during the Loss Mitigation Period. If a
Chapter 13 Debtor requests voluntary dismissal during the Loss Mitigation Period, the
Debtor shall indicate whether the Debtor agreed or intends to enter into a Settlement with
a Loss Mitigation Party.

D. DISCHARGE

      The Clerk of the Court shall not enter a discharge during the pendency of a
Loss Mitigation Period.
     Case 8-18-72034-las       Doc 14    Filed 04/20/18    Entered 04/20/18 12:25:03




                                 X.       SETTLEMENT

       The bankruptcy court shall consider any agreement or resolution (a “Settlement”)
reached during loss mitigation and may approve the Settlement, subject to the following
provisions:

1.    Implementation: A Settlement may be noticed and implemented in any manner
permitted by the Bankruptcy Code and Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), including but not limited to a stipulation, sale, Chapter 11 plan of
reorganization, or Chapter 13 plan.

2.     Fees, Costs, or Charges: If a Settlement provides for a Creditor to receive payment
or reimbursement of any expense arising from the Creditor’s participation in the Loss
Mitigation Program, that expense shall be disclosed to the Debtor and the bankruptcy
court before the Settlement is approved.

3.     Signatures: Consent to the Settlement shall be acknowledged in writing by the
Creditor representative who participated in the loss mitigation session, the Debtor, and
the Debtor’s attorney, if applicable.

4.     Hearing: Where a Debtor is represented by an attorney, a Settlement may be
approved by the bankruptcy court without further notice, or upon such notice as the
bankruptcy court directs, unless additional notice or a hearing is required by the
Bankruptcy Code or Bankruptcy Rules. Where a Debtor is not represented by counsel, a
Settlement shall not be approved until the bankruptcy court conducts a hearing at which
the Debtor shall appear in person.

5.     Dismissal Not Required: A Debtor shall not be required to request dismissal
of the bankruptcy case in order to effectuate a Settlement. In order to ensure that
the Settlement is enforceable, the Loss Mitigation Parties shall seek bankruptcy court
approval of the Settlement. Where the Debtor requests or consents to dismissal of the
bankruptcy case as part of the Settlement, the bankruptcy court may approve the
Settlement as a “structured dismissal,” if such relief complies with the Bankruptcy Code
and Bankruptcy Rules.


                    XI.   LOSS MITIGATION FINAL REPORT

       Debtor’s counsel (or the Debtor, if the Debtor is proceeding without attorney
representation) shall file with the Court a Loss Mitigation Final Report. The form of
Loss Mitigation Final Report is on the Court’s website. The Loss Mitigation Final
Report shall be filed no later than 14 days after termination of the Loss Mitigation
Period. Termination occurs:

              1.     when the Court enters an order terminating the Loss Mitigation
              Period;
     Case 8-18-72034-las      Doc 14    Filed 04/20/18    Entered 04/20/18 12:25:03




              2.    when the Court approves a stipulated agreement that has been
              presented to the Court, which provides for settlement or resolution of the
              Loss Mitigation; or

              3.     upon expiration of the Loss Mitigation Period.

        Where two or more requests for Loss Mitigation have been made in a case, for
different properties or different mortgages on a property, a separate Loss Mitigation Final
Report must be filed with respect to each request.

              XII.   COORDINATION WITH OTHER PROGRAMS

       [Provision may be added in the future to provide for coordination with other loss
mitigation programs, including programs in the New York State Unified Court System.]
